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                                                                                   2025 May-08 AM 11:07
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


EVAN MILLIGAN, et al.,

              Plaintiffs,

               v.                                 Case No. 2:21-cv-01530-AMM

WES ALLEN, in his official capacity                 THREE-JUDGE COURT
as Alabama Secretary of State, et al.,

              Defendants.

Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                      ORDER

      Now before the Court is a renewed motion to intervene by Jarmal Jabbar

Sanders. Doc. 488. Mr. Sanders previously moved to intervene on July 31, 2023.

Doc. 202. Shortly thereafter, we denied that “cursory motion” because it did “not

assert any basis for intervention as of right or by permission under Federal Rule of

Civil Procedure 24.” Doc. 203 at 7–8. Similarly, Mr. Sanders’s renewed motion

lacks a sufficient basis for intervention as of right or by permission under Rule 24.

The renewed motion is also untimely at this late stage of the litigation.

      Accordingly, Mr. Sanders’s renewed motion to intervene is DENIED.
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